        Case 23-00131-ELG           Doc 83     Filed 02/15/24 Entered 02/15/24 14:14:23        Desc Main
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The order below is hereby signed.

Signed: February 15 2024




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF COLUMBIA

                                                                 )
          In re:                                                 )   Chapter 11
                                                                 )
          5703 9TH, LLC                                          )   Case No. 23-00131-ELG
                                                                 )
                                    Debtor.                      )
                                                                 )
                                                                 )
                                                                 )

                           CONSENT ORDER RESOLVING DEBTOR’S OBJECTION
                           TO PROOF OF CLAIM NO. 2 FILED BY WCP FUND I LLC


         Upon consideration of the Objection filed by 5703 9TH, LLC, the debtor and debtor-in-possession

         herein (the “Debtor”), to Proof of Claim No. 2 (the “Proof of Claim”) filed by WCP Fund I, LLC

         as servicer for U.S. Bank National Association (“WCP”), and WCP’s response thereto, the

         Debtor and WCP having agreed to a resolution of the Objection [Dkt. 31] in accordance with the

         terms and provisions of this Consent Order, it is by the United States Bankruptcy Court for the

         District of Columbia ORDERED as follows:

                   1.   WCP shall have an allowed secured claim in the amount of $395,000, which

         claim shall remain fixed with no additional accruals of interest or other charges or fees through

         that date which is sixty (60) days after the date of entry of this Consent Order.
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       2.      WCP agrees to vote in favor of and support confirmation of the Debtor’s Chapter

11 plan which shall incorporate and be consistent in all respects with this Consent Order.

       3.      In the event that WCP’s claim is not paid by the deadline set forth in paragraph 1

above, WCP’s claim of $395,000 shall begin to accrue interest at the default rate set forth in the

Commercial Deed of Trust Note executed by the Debtor in favor of WCP.

       4.      The Debtor shall be barred from filing a new voluntary bankruptcy case for a two-

(2-) year period following the Petition Date in this case.

       5.      In the event that WCP’s claim is not paid as provided herein, the automatic stay

shall be lifted on that date which is ninety (90) days after the date of entry of this Consent Order

without the need for further motion by WCP and WCP shall be entitled to pursue its right to

foreclose on the subject property after such date.

                                               End of Order

WE ASK FOR THIS:

/s/ Brent C. Strickland
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/s/ Maurice B. VerStandig
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